900 F.2d 256Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Jackie Donnell HOLLINGSWORTH, Defendant-Appellant.
    No. 90-6750.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 5, 1990.Decided March 14, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Fayetteville.  W. Earl Britt, Chief District Judge.  (CR No. 85-8-1;  C/A No. 89-13).
      Jackie Donnell Hollingsworth, appellant pro se.
      Paul Martin Newby, Office of the United States Attorney, Raleigh, N.C., for appellee.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Jackie Donnell Hollingsworth appeals the district court's denial of his request for release on bail filed in his 28 U.S.C. Sec. 2255 action.  A denial of bail is an appealable collateral order.   See Cherek v. United States, 767 F.2d 335 (7th Cir.1985);  United States v. Smith, 835 F.2d 1048 (3d Cir.1987).  A person seeking interim release during pursuit of Sec. 2255 remedies, however, faces a formidable barrier created by the fact of the conviction and the government's interest in executing its judgment.  "[I]n the absence of exceptional circumstances ... the court will not grant bail prior to the ultimate final decision unless [the applicant] presents not merely a clear case on the law, ... but a clear, and readily evident, case on the facts."   Glynn v. Donnelly, 470 F.2d 95, 98 (1st Cir.1972);  accord Martin v. Solem, 801 F.2d 324, 329 (8th Cir.1986).  Upon review of the record we do not find that Hollingsworth has met this burden.  We therefore affirm the district court's denial of release on bail.
    
    
      2
      We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    AFFIRMED
    